   Case: 1:18-cv-07686 Document #: 379 Filed: 02/21/20 Page 1 of 7 PageID #:4161




                 IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 In re: Lion Air Flight JT 610 Crash                   MDL Case No. 18-cv-07686

 Anice Kasim, Legal Representative of the Estate       This document relates to
 of Eko Sutanto; Z.A.S., a minor by and through        Case No. 1: 19-cv-2982
 her Guardian ad Litem, Anice Kasim; T. A.S., a
 minor by and through her Guardian ad Litem,           Honorable Thomas M. Durkin
 Anice Kasim; S.C.S., a minor by and through her
 Guardian ad Litem, Anice Kasim,

                                 Plaintiffs,
                       v.
 The Boeing Company,
                                 Defendant.


             JOINT MOTION FOR DISMISSAL OF PLAINTIFFS’ CLAIMS
            WITH PREJUDICE AND APPROVAL OF MINOR SETTLEMENTS

       Pursuant to Local Rule 17.1, Plaintiff Anice Kasim, individually, as Legal Representative

of the Estate of Eko Sutanto, and as Guardian of minor children Z.A.S., T.A.S., and S.C.S.,

moves this Court for an order approving the Parties’ settlement agreement and dismissing

Plaintiffs’ claims relating to the death of Decedent with prejudice. In support of this motion,

Plaintiff Kasim states as follows:

                                               FACTS

       1.      Decedent was a passenger on board a Boeing 737 MAX 8 aircraft, registered as

PK-LQP (“Subject Aircraft”) and operated by PT Lion Mentari Airlines as Lion Air Flight JT

610 en route from Jakarta, Indonesia to Pangkal Pinang, Indonesia on October 29, 2018.

       2.      Flight JT 610 crashed into the Java Sea off the coast of Jakarta shortly after

takeoff, killing all 189 persons aboard the airplane, including Decedent.

       3.      Plaintiff Kasim, on behalf of herself and three minor heirs, Z.A.S. (17 years old),

T.A.S. (15 years old), and S.C.S. (11 years old), has asserted wrongful death and survival claims




                                                   1
   Case: 1:18-cv-07686 Document #: 379 Filed: 02/21/20 Page 2 of 7 PageID #:4162




against Defendant arising out of Decedent’s death.

       4.      Plaintiff Kasim and the Decedent’s minor heirs are represented by attorneys from

the law firms of Girardi Keese and Edelson PC. Plaintiffs’ counsel have extensively investigated

the legal issues and factual bases underlying the causes of action, including Plaintiffs’ theory of

liability, injuries, and claims for damages, as well as Defendant’s legal positions and defenses,

including its anticipated forum non conveniens motion. Plaintiffs’ counsel have investigated and

evaluated these aspects of the matter on behalf of Z.A.S., T.A.S., and S.C.S., who are the natural

children of Plaintiff Kasim and Decedent, and who have suffered similar injuries, incurred

similar damages, and whose claims and interests do not conflict with one another.

                                PLAINTIFFS’ ALLEGATIONS

       5.      Plaintiffs filed this lawsuit against Defendant on February 27, 2019, asserting

claims for wrongful death based on theories of products liability and negligence.

       6.      Plaintiffs alleged that Boeing designed, manufactured, assembled, and sold the

Subject Aircraft, and that the Subject Aircraft was defective.

       7.      Plaintiffs alleged that as the direct and proximate result of the alleged defective

condition of the Subject Aircraft, the Subject Aircraft crashed into the Java Sea off the coast of

Jakarta, Indonesia, resulting in the death of Decedent.

       8.      Plaintiffs further alleged that as a direct and proximate result of the alleged

defective condition of the Subject Aircraft, Decedent’s heirs have suffered loss of support, loss

of net accumulations, loss of household services, loss of care, comfort, companionship, guidance,

and mental anguish, sorrow, and grief.

                                   PLAINTIFFS’ DAMAGES

       9.      At the time of his death, Decedent Eko Sutanto was 48 years old and employed by




                                                 2
   Case: 1:18-cv-07686 Document #: 379 Filed: 02/21/20 Page 3 of 7 PageID #:4163




the Ministry of Finance (Indonesia). Decedent earned approximately $10,350.00 USD per year.

       10.     The Decedent is survived by:

               a. Wife, Anice Kasim;

               b. Minor Daughter, Z.A.S. (17 years old);

               c. Minor Daughter, T.A.S. (15 years old); and

               d. Minor Daughter, S.C.S. (11 years old).

                        DEFENDANT’S POSITION AND DEFENSES

       11.     Defendant denies that the accident aircraft was defective and further denies that

any act or omission by it proximately caused this crash.

                                SETTLEMENT AGREEMENT

       12.     The Parties reached an agreement to settle the claims in this case only after

participating in three separate in-person mediation sessions with retired Cook County Circuit

Court Chief Judge Donald P. O’Connell.

       13.     As a condition of the settlement, Plaintiffs have agreed to keep the terms of the

settlement confidential, including the settlement amount. A sealed declaration identifying the

settlement amount has been provided to the Court separately.

       14.     In negotiating this settlement, Plaintiffs’ counsel considered a number of issues,

including the strength of Plaintiffs’ claims against Defendant, as well as Defendant’s defenses

(both asserted and anticipated), including the viability of its anticipated forum non conveniens

motion.

       15.     Plaintiffs’ counsel is experienced in the representation of families of victims of

international airplane accidents. Plaintiffs’ counsel believes the settlement amount, as well as the

allocation of that amount to each of the minor plaintiffs, is fair and reasonable.




                                                  3
   Case: 1:18-cv-07686 Document #: 379 Filed: 02/21/20 Page 4 of 7 PageID #:4164




       16.       Likewise, Judge Donald O’Connell, who has presided over aviation matters as

both a judge and mediator, believes that this settlement is fair and reasonable.

       17.       Plaintiffs’ counsel has fully explained the above facts to Plaintiff Kasim, as legal

representative of Decedent’s estate and guardian of Decedent’s minor heirs, and Plaintiff Kasim

agrees that the settlement amount is fair and reasonable.

       18.       Accordingly, Plaintiffs respectfully request that the Court grant approval of the

settlement and dismiss the action with prejudice.

       WHEREFORE, the Parties respectfully request that this Court enter an Order:

                 a.     Finding Plaintiffs’ counsel are independent attorneys representing the

       interests of the minor plaintiffs, Z.A.S., T.A.S., and S.C.S., and are competent to

       represent the interests of minor plaintiffs and next of kin that are members of the same

       family;

                 b.     Approving the Parties settlement of the claims of the minor plaintiffs,

       Z.A.S., T.A.S., and S.C.S.;

                 c.     Dismissing this action with prejudice and without costs against Defendant

       and retaining jurisdiction to effectuate settlement; and

                 d.     Granting any other relief as this Court may deem just.

                                                       Respectfully submitted,

Dated: February 21, 2020                               /s/ Ari J. Scharg

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                                                   4
   Case: 1:18-cv-07686 Document #: 379 Filed: 02/21/20 Page 5 of 7 PageID #:4165




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                                        5
Case: 1:18-cv-07686 Document #: 379 Filed: 02/21/20 Page 6 of 7 PageID #:4166




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                                     6
   Case: 1:18-cv-07686 Document #: 379 Filed: 02/21/20 Page 7 of 7 PageID #:4167




                               CERTIFICATE OF SERVICE

        I hereby certify that on February 21, 2020, I electronically filed the foregoing document
with the Clerk of Court, using CM/ECF. I also certify that the foregoing document is being served
this day on all counsel of record via transmission of Notices of Electronic Filing generated by
CM/ECF.
                                                     /s/ Ari J. Scharg




                                               7
